                           No. 23-7090
                               In the

   United States Court of Appeals
                 For the Tenth Circuit
                        __________________

PERRY CLINE, on behalf of himself and all others similarly situated,
                                              Plaintiff -Appellee,
                                 v.
SUNOCO, INC. (R&M) AND SUNOCO PARTNERS MARKETING &
                   TERMINALS L.P.,
                                          Defendants-Appellants.
                        __________________
          On Appeal from the United States District Court
               for the Eastern District of Oklahoma
                     Judge John A. Gibney, Jr.
                 Civil Action No. 6:17-cv-313-JAG
                     ________________________

BRIEF OF AMICUS CURIAE THE CHAMBER OF COMMERCE OF
    THE UNITED STATES OF AMERICA IN SUPPORT OF
                     APPELLANTS
                ________________________
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                         March 25, 2024
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            STATEMENT OF IDENTITY AND INTEREST1

     The Chamber of Commerce of the United States of America is the

world’s largest business federation. It represents approximately 300,000

direct members and indirectly represents the interests of more than 3

million companies and professional organizations of every size, in every

industry sector, and from every region of the country. An important

function of the Chamber is to represent the interests of its members in

matters before Congress, the Executive Branch, and the courts. To that

end, the Chamber regularly files amicus curiae briefs in cases that raise

issues of concern to the nation’s business community.

     The Chamber’s members have a strong interest in promoting fair

and predictable legal standards. They are particularly likely to be

defendants in putative class actions. The Chamber’s members thus have

a strong interest in ensuring that courts comply with the Supreme

Court’s class action precedents, including undertaking the rigorous

analysis required by Federal Rule of Civil Procedure 23. The Chamber




1 Both parties have consented to the filing of this brief. No party’s counsel

authored this brief in whole or in part, and no entity or person, aside from
amicus curiae, its members, or its counsel, made any monetary
contribution intended to fund the preparation or submission of this brief.

                                     1
has filed amicus curiae briefs in several recent Rule 23 class action cases,

including Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442 (2016); Comcast

Corp. v. Behrend, 569 U.S. 27 (2013); and Wal-Mart Stores, Inc. v. Dukes,

564 U.S. 338 (2011).

                             INTRODUCTION

      The class certification requirements of Federal Rule of Civil

Procedure 23 are not mere paper requirements that can be brushed aside

to streamline litigation. Instead, they are crucial safeguards grounded in

fundamental due process concepts which are essential to protecting the

rights of both defendants and absent class members. See 28 U.S.C.

§ 2072(b). The court nevertheless permitted the 53,000-person class in

this case to try 1.5 million different claims for alleged failure to pay

statutory interest under Oklahoma’s Production Revenue Standards Act,

Okla. Stat. tit. 52, § 570, et seq. (“PRSA”). It did so despite the significant

individualized defenses that Sunoco had to these claims. That approach

ran afoul of Rule 23 and the due process principles its requirements are

meant to protect.

      Here, as with any class action, before the named plaintiff could take

advantage of the Rule 23(b)(3) class-action device, he was required to



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establish that common questions of the class “predominate” over

individual ones. Comcast Corp., 569 U.S. at 33-34; Amchem Prods., Inc.

v. Windsor, 521 U.S. 591, 623-24 (1997). He fell well short of the mark.

Plaintiff could not establish that any common questions would

predominate over the many individualized inquiries in the case,

including whether the class members had the marketable title that they

must prove to be entitled to 12% interest. Class-action plaintiffs must

offer “a theory of liability that is … capable of classwide proof.” Comcast

Corp., 569 U.S. at 37-38. It is not enough for a class to propose “any

method[ology] … so long as it can be applied classwide.” Id. at 35-36. Yet

that is essentially the approach taken in this case. The court permitted

the plaintiff to establish liability with a 20,000-page spreadsheet that the

court never reviewed and that Sunoco had no realistic opportunity to

challenge at an individual level.

     If not corrected, the decision below will encourage courts to bypass

the rigorous analysis required by Rule 23(b)(3). And of necessity, when

faced with thousands of claims involving individualized questions that

predominate over common ones, district courts will find themselves

“innovating” new procedures. But as shown by the peculiar method of



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litigation by massive spreadsheet in this case, such innovation poses

serious due process concerns. That is why Rule 23 prohibits class

adjudication of divergent and individualized class claims¦ like those at

issue here¦ and why the judgment should be reversed.

                              ARGUMENT
I.   The class certified here fails to comply with Rule 23’s predominance
     requirement.

     Class actions are an exception to the normal way of adjudicating

claims on an individual-by-individual basis. To justify this exception, the

Federal Rules of Civil Procedure have specific requirements that must be

met for class-based litigation. Rule 23(a) sets forth four prerequisites,

commonly referred to as numerosity, commonality, typicality, and

adequacy. Fed. R. Civ. P. 23(a). Rule 23(b) then establishes additional

requirements for each of the three types of class actions that may be

maintained. Fed. R. Civ. P. 23(b).

     A Rule 23(b)(3) class action, as was certified here, may only be

maintained if “the court finds that the questions of law or fact common

to class members predominate over any questions affecting only

individual members, and that a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R.


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Civ. P. 23(b)(3). That is because Rule 23(b)(3) is an “adventuresome

innovation … designed for situations in which class-action treatment is

not as clearly called for.” Comcast Corp., 569 U.S. at 34. Plaintiffs bear

the burden of establishing Rule 23 compliance throughout the litigation.

Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982) (“[A]ctual, not

presumed,       conformance     with   Rule     23(a)   remains,   however,

indispensable.”). Not just any assortment of vaguely related plaintiffs can

be combined as a Rule 23(b)(3) class.

     The trial court certified the class at issue here under Rule 23(b)(3),

but gave short shrift to the predominance requirement. This

“demanding” requirement requires courts to ask “whether proposed

classes   are    sufficiently   cohesive   to   warrant    adjudication   by

representation.” Amchem Prods., 521 U.S. at 623; see also Comcast Corp.,

569 U.S. at 34-35. To answer that question, a court must begin by looking

for “legal or factual questions that qualify each class member’s case as a

genuine controversy” and determining whether those questions are

individual or common to the class. Amchem Prods., 521 U.S. at 623;

Monreal v. Potter, 367 F.3d 1224, 1237-38 (10th Cir. 2004) (dismissing

class for failure to establish predominance); Shook v. Bd. of Cty.



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Commissioners of Cty. of El Paso, 543 F.3d 597, 605 (10th Cir. 2008)

(Gorsuch, J.) (affirming dismissal of class that lacked a “cohesive injury

suffered by the class”).

     An individual question is “one where ‘members of a proposed class

will need to present evidence that varies from member to member,’ while

a common question is one where ‘the same evidence will suffice for each

member to make a prima facie showing [or] the issue is susceptible to

generalized, class-wide proof.’” Tyson Foods, Inc., 577 U.S. at 453

(quoting 2 W. Rubenstein, Newberg on Class Actions § 4:50, pp. 196-197

(5th ed. 2012)). The court must then assess “whether the common,

aggregation-enabling, issues in the case are more prevalent or important

than the non-common, aggregation-defeating, individual issues.” Id.;

Gorss Motels, Inc. v. Brigadoon Fitness, Inc., 29 F.4th 839, 843-44 (7th

Cir. 2022) (“An individual question is one where members of a proposed

class will need to present evidence that varies from member to member;

a common question is one where the same evidence will suffice for each

member to make a prima facie showing or the issue is susceptible to

generalized, class-wide proof.”). Here, plaintiffs failed to show that any




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common questions in the case predominated over the significant

individualized questions in their cases.

     Comcast Corp v. Behrend is a good example of the predominance

flaw present here. There, the Supreme Court reversed class certification

in large part because the class members had failed to provide a method

to properly measure and quantify damages on a classwide basis—

questions of individual damage calculations would “inevitably overwhelm

questions common to the class.” 569 U.S. at 34. Indeed, the method of

damages calculation that the plaintiffs had proffered included damages

that were “not the result of the wrong.” Id. at 37.

     The same could be said here. Consider the issue of marketable title:

Before any class member can prove a legal right to 12% interest, the class

member must prove that during the delay in paying proceeds, the class

member had marketable title to the mineral interest underlying the

disputed late payment. Okla. Stat. tit. 52, § 570.10(D); In re Tulsa

Energy, Inc., 111 F.3d 88, 90 (10th Cir. 1997) (“Section 570.10(D)(2)(a),

the ‘six percent’ provision, recognizes the operator’s right to withhold

proceeds in the absence of marketable title. It is the interest owner’s

responsibility to establish marketable title so that he can receive



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proceeds.”) (internal citation omitted). Marketable title cannot be, and

was not, proven by reference to the plaintiffs’ expert witness or her

accompanying spreadsheet. See Trial Tr. Vol. 1 at 138, 167-71, App.350-

51, 214-16, App.359-60; Vol. 4 at 783 (discussing title opinions and

related records needed to establish marketable title). It requires an

individualized assessment of each class member’s record. In the absence

of such evidence, plaintiffs’ expert witness simply assumed damages of

12% interest for each class member, regardless of the implausibility that

all the 53,000 class members had marketable title during the delay in

paying proceeds. And the district court accepted this approach, placing

the burden on Sunoco, in order to apply 6% rather than 12% interest, to

come forward with evidence that each of the 53,000 class members did

not have marketable title during the delay in paying proceeds. See Cline

v. Sunoco, Inc. (R&M), 479 F. Supp. 3d 1148, 1171 (E.D. Okla. 2020)

(discussing burden to show unmarketable tile falling on defendants). In

these circumstances requiring highly individualized proof, courts

regularly reject certification on predominance grounds. See, e.g., Sacred

Heart Health Sys., Inc. v. Humana Mil. Healthcare Servs., Inc., 601 F.3d

1159, 1171-72 (11th Cir. 2010) (finding no predominance among a



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proposed class of hospitals because there was no way “to homogenize the

variant contracts” to establish their rights to payment); Steering Comm.

v. Exxon Mobil Corp., 461 F.3d 598, 602 (5th Cir. 2006) (holding that

certification was inappropriate because “separate types of proof would be

necessary” to calculate damages on an individual basis and “cannot be

determined by reference to a mathematical or formulaic calculation”).2

     Even assuming that the district court correctly viewed the question

of marketability as an affirmative defense rather than an element of the

class claims, this approach abridged Sunoco’s substantive rights.




2 For similar reasons, class certification should have been denied for lack

of ascertainability. Rule 23(b) contains an “implied requirement of
ascertainability” that asks “whether the class is ‘sufficiently definite so
that it is administratively feasible for the court to determine whether a
particular individual is a member.’” Brecher v. Republic of Argentina, 806
F.3d 22, 24 (2d Cir. 2015) (quoting 7A Charles Alan Wright & Arthur R.
Miller et al., Federal Practice & Procedure § 1760 (4th ed. 2021)); see
Davoll v. Webb, 194 F.3d 1116, 1146 (10th Cir. 1999) (affirming denial of
class certification on ascertainability grounds because “it was within the
district court’s discretion to decide that determining class membership
under the proposed definition would be administratively infeasible”).
Here, the district court’s decision to vastly expand the class to include
well owners who have not been located, confirmed, or identified runs
head long into precisely this obstacle. The district court’s class
determination includes claimants who are literally unknown (account
numbers are not people) presenting an objectively unascertainable set of
class claimants. This flaw alone should have been fatal to class
certification.

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Sunoco’s unrebutted expert testimony established that Sunoco’s only

potential database indicator of unmarketable title was but a crude

surrogate of marketability. Trial Tr. Vol. 4 at 707:9-16, 715:5-6. And a

database indicator is the only reasonable type of evidence that Sunoco

could look to in class litigation involving 53,000 unnamed plaintiffs. No

court would tolerate the delay that 53,000 individualized inquiries to

assess marketable title would engender for this litigation. By contrast,

the ordinary delays associated with litigating 53,000 individual cases

would have afforded Sunoco the time to conduct those inquiries. Thus,

the class action vehicle effectively abridged Sunoco’s substantive rights,

in direct contravention of the Rules Enabling Act, which “forbids

interpreting Rule 23 to ‘abridge, enlarge or modify any substantive

right.” Wal-Mart, 564 U.S. at 367 (quoting 28 U.S.C. § 2072(b)). The

district court should never have certified the class under these

circumstances. If it had properly considered the individualized questions

at issue in the case, it would have had to conclude that they predominate,

making class litigation inappropriate.




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II.   Trial by spreadsheet violates fundamental due process rights.

      Proper compliance with Rule 23 was not the only legal principle at

stake in this case. The Constitution guarantees basic due process rights

that apply with equal force to individualized and class-action based

adjudication. It is beyond cavil that the “fundamental requisite of due

process of law is the opportunity to be heard.” Mullane v. Cent. Hanover

Bank & Tr. Co., 339 U.S. 306, 314 (1950) (quotation omitted). The right

to be heard includes the defendant’s ability “to litigate the issues raised.”

United States v. Armour & Co., 402 U.S. 673, 682 (1971). America has a

“deep-rooted historic tradition that everyone should have his own day in

court.” Taylor v. Sturgell, 553 U.S. 880, 892-93 (2008) (quotation and

citation omitted). Without appropriate limits, class adjudication can run

afoul of these rights.

      Improperly certified class actions threaten the due process rights of

both defendants and class members who are bound by decisions made on

behalf of the entire class. For class members, due process requires that

the class representative “fairly insures the protection of the interests of

absent parties who are to be bound by” the outcome of the litigation.

Hansberry v. Lee, 311 U.S. 32, 42 (1940).



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     For defendants, due process requires that they be allowed to press

their individualized defenses. As the Supreme Court has long affirmed in

the context of Rule 23, “[d]ue process requires that there be an

opportunity to present every available defense.” Lindsey v. Normet, 405

U.S. 56, 66 (1972) (quoting American Surety Co. v. Baldwin, 287 U.S.

156, 168 (1932)); see also Philip Morris USA v. Williams, 549 U.S. 346,

353 (2007) (“[T]he Due Process Clause prohibits a State from punishing

an individual without first providing that individual with an opportunity

to present every available defense.”). As the Third Circuit held in a Rule

23 class action dispute, a “defendant in a class action has a due process

right to raise individual challenges and defenses to claims, and a class

action cannot be certified in a way that eviscerates this right or masks

individual issues.” Carrera v. Bayer Corp., 727 F.3d 300, 307 (3d Cir.

2013). This “due process right” includes both the right “to challenge the

elements of a plaintiff’s claim” and the “right to challenge the proof used

to demonstrate class membership.” Id.

     The due process right to present a defense cuts against the use of

statistical reporting, formulas, or similar shortcuts in allowing class

members to prove claims. In particular, the Supreme Court has cast



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doubt upon the use of sweeping formulas as a substitute for

individualized proof of liability. In Wal-Mart, the Supreme Court deemed

“Trial by Formula” impermissible. 564 U.S. at 367. In that class action

on behalf of a putative class of 1,500,000 Wal-Mart employees alleging

sex-discrimination claims under Title VII, the plaintiffs sought to

establish liability by looking at a sample set of class members under the

supervision of a special master. With this tool, the plaintiffs proposed

that the “percentage of claims determined to be valid would then be

applied to the entire remaining class….” Id. The Court bluntly

“disapprove[d] that novel project.” Id.

     This case involved a similarly novel project. The named plaintiff

submitted a spreadsheet prepared by a hired expert (not even a Special

Master) for 1.5 million claims on behalf of 53,000 plaintiffs. This

formulaic spreadsheet ran some 20,000 pages and, to the surprise of

nobody, the trial court admitted it could not possibly look at the

substance and details of the proof by formulaic spreadsheet. The Court

commented that “no one will ever look at [that spreadsheet]” and “I [the

Court] can’t look at it.” Trial Tr. Vol. 3 at 559. This approach bears little

resemblance to the fact-finding that due process demands of a court. Cf.



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Dalton v. Lee Publications, Inc., No. 3:08-cv-01072-GPC-NLS, 2013 WL

2181219, at *8–9 (S.D. Cal. May 20, 2013) (explaining that individualized

inquires were necessary and thus precluded class certification because a

spreadsheet’s “methodology [wa]s inaccurate and over inclusive”).

     A traditional approach would have looked quite different, for both

the parties and the court. If the PRSA claims in this case had been tried

on an individual basis the court could have expected the following:

      Class member testimony about the late payment, including
       the dates of the delay and the circumstances causing the
       delay.
      Marketable title property records and evidence, subject to
       cross examination.
      Defense evidence about any potential defenses, such as
       causation, estoppel, and potential plaintiff failure to cash
       checks or notify defendant of a change in address.
      The fact-finder would have determined individual damages,
       including marketability of title during the entire period of
       time a payment was late and the applicable interest (6% or
       12%) during that time.

That did not happen here. Instead, the trial court allowed classwide

adjudication of 1.5 million claims, eliding all individualized aspects of the

claims and unsurprisingly resulting in a large judgment for the class. The

Constitution requires more.




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       The named plaintiff may attempt to defend the court’s process by

pointing to Sunoco’s opportunity to present a counter-spreadsheet. But

that would have only compounded the due process problems. Trial by

formula, multiplied, is still trial by formula. The super-sized spreadsheet

here was an inadequate substitute for the individualized liability

determinations to which the defendant was entitled. Encouraging

defendants to add their own voluminous spreadsheet to the pile does little

more than flip the burden under Rule 23 for plaintiffs to prove their case.

See Gen. Tel. Co. of S.W., 457 U.S. at 160 (“[A]ctual, not presumed,

conformance” with Rule 23’s requirements is “indispensable”). The

serious due process concerns at issue here only underscore that this class

judgment warrants reversal.

III.   Improper class actions impose substantial costs on the business
       community.

       The failure to rigorously police class actions imposes substantial

harms on the business community and the public more broadly. Class-

action litigation costs in the United States are huge. They totaled a

staggering $3.9 billion in 2023, continuing a rising trend that started in

2015. See 2024 Carlton Fields Class Action Survey, at 6 (2024), available

at https://ClassActionSurvey.com. Moreover, defendants in class actions


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face tremendous pressure to capitulate to what Judge Friendly termed

“blackmail settlements.” Henry J. Friendly, Federal Jurisdiction: A

General View 120 (1973). As the Supreme Court long ago explained,

“[c]ertification of a large class may so increase the defendant’s potential

damages liability and litigation costs that he may find it economically

prudent to settle and to abandon a meritorious defense.” Coopers &

Lybrand v. Livesay, 437 U.S. 463, 476 (1978), superseded in part by Fed.

R. Civ. P. 23(f); see also AT&T Mobility LLC v. Concepcion, 563 U.S. 333,

350 (2011) (noting “the risk of ‘in terrorem’ settlements that class actions

entail”); Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559

U.S. 393, 445 n.3 (2010) (Ginsburg, J., dissenting) (“[A] class action can

result in ‘potentially ruinous liability.’”) (quoting Advisory Committee’s

Notes on Fed. R. Civ. P. 23)).

     The litigation costs associated with class actions continue to be

substantial for the business community. Class actions can drag on for

years even before a court takes up the question of class certification. See

U.S. Chamber Institute for Legal Reform, Do Class Actions Benefit Class

Members? An Empirical Analysis of Class Actions, at 1, 5 (Dec. 2013),

available at http://bit.ly/3rrHd29. (“Approximately 14% of all class action



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cases remained pending four years after they were filed, without

resolution or even a determination of whether the case could go forward

on a class-wide basis.”). The cost to defend a single large class action can

run into nine figures. See Adeola Adele, Dukes v. Wal-Mart: Implications

for Employment Practices Liability Insurance 1 (July 2011) (noting

defense cost of $100 million). Indeed, class-action litigation costs in the

United States totaled a staggering $4.21 billion projected in 2024,

continuing a rising trend that started in 2015. See 2024 Carlton Fields

Class Action Survey, supra, at 7.

     With these high stakes, it is not surprising that businesses often

elect to settle class actions, even those that lack merit. In 2019,

companies reported settling 60.3 percent of class actions, and they settled

an even higher 73 percent of class actions the year before. See 2020

Carlton Fields Class Action Survey, at 35 (2020), available at

https://bit.ly/492M7aY. The rare trial that occurred in this case only

underscores why so many defendants choose to settle. The trial permitted

some 1.5 million claims to be adjudicated, for a substantial number of

absent class members, leading to a verdict of more than $155 million

dollars.



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     If not corrected by this court, the decision below will exacerbate the

costs posed by class litigation. The watered-down predominance

requirement will encourage the sort of trial-by-spreadsheet that we saw

in this case. It will make it harder for businesses to present their defenses

and have their day in court that the Constitution guarantees for all

parties. And in the meantime, the verdict will only ratchet up the coercive

settlement pressure on future class action defendants who have

individualized defenses that a class-action vehicle will not allow them to

present.


                              CONCLUSION

     The judgment of the district court should be reversed.

Dated: March 25, 2024                  Respectfully submitted,

                                       /s/ Michael Francisco

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                   CERTIFICATE OF COMPLIANCE

     I hereby certify that this brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5), the type style requirements of

Fed. R. App. P. 32(a)(6), and the type-volume limitations of Fed. R. App.

P. 29(a)(5) because it is proportionally spaced, has a typeface of 14-point

Century font, and contains 3,573 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

     I also certify that pursuant to this Court’s guidelines on the use of

the CM/ECF system:

        a) all required privacy redactions have been made per 10th Cir.

           R. 25.5 and Fed. R. App. P. 25(a)(5);

        b) the hard copies that will be submitted to the Clerk’s Office are

           exact copies of the ECF filing; and

        c) the ECF submission was scanned for viruses using

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           viruses were detected.

                                          /s/ Michael Francisco
                                          Michael Francisco

                                          Counsel for Amicus Curiae




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                         CERTIFICATE OF SERVICE

     I hereby certify that on March 25, 2024, the foregoing was

electronically filed with the Clerk for the United States Court of Appeals

for the Tenth Circuit using the CM/ECF system. The system will serve

all counsel of record.

                                        /s/ Michael Francisco
                                        Michael Francisco

                                        Counsel for Amicus Curiae




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